         Case 1:02-cv-00025-CFL Document 215 Filed 07/10/09 Page 1 of 2




       In The United States Court of Federal Claims
                                            No. 02-25L

                                       (Filed: July 10, 2009)
                                            __________
 JICARILLA APACHE NATION, formerly              *
 JICARILLA APACHE TRIBE,                        *
                                                *
                        Plaintiff,              *
                                                *
         v.                                     *
                                                *
 THE UNITED STATES,                             *
                                                *
                        Defendant.              *
                                                *
                                                *
                                                *
                                            _________

                                             ORDER
                                            __________

         In an order dated July 3, 2009, the court ordered defendant to produce certain documents
by July 13, 2009. On July 9, 2009, defendant filed a motion requesting that the court extend the
deadline for producing those documents by ninety days to October 13, 2009. In support of its
motion, defendant contends that the added time is needed to provide for sufficient internal
deliberation on whether to pursue an interlocutory appeal or other extraordinary appellate relief.
Defendant contends that the original time allotted in the court’s July 3, 2009 order is too short to
allow the necessary government components to assess whether appellate review is warranted.
Today, plaintiff filed its opposition, contending, inter alia, that the time defendant seeks is
excessive. It notes, inter alia, that defendant has not previously sought appellate review of tribal
trust privilege rulings that are arguably broader than the ruling rendered by this court.

         The court is well aware of all facets of defendant’s process for determining whether to
seek appellate relief. It is also well aware that the latter options are, to say the least, extremely
limited. Furthermore, the issues that defendant claims it needs months to consider are not ones
of first impression. As noted in the July 3, 2009, order, the government previously has been
ordered by this court to produce tribal trust administration documents under the fiduciary
exception. See Osage Nation v. United States, 66 Fed. Cl. 244, 253 (2005). And in that instance,
after being given four days to comply, defendant requested only an additional week, at which
time it produced the documents. Moreover, as in Osage, the protective order in this case ensures
that documents will not be disclosed to third parties. And defendant stated in its motion that it
         Case 1:02-cv-00025-CFL Document 215 Filed 07/10/09 Page 2 of 2



has already created a CD of the documents ordered to be produced, so there is no concern that the
court’s original deadline imposed an impractical burden meriting additional time.

        Finally, the court would be remiss if it did not note that this case has been pending for
seven years. Documents and witnesses continue to age and the court is hesitant to countenance
any further delay of this matter, particularly that which does not appear to be fully justified.

       Accordingly:

       1.      Treating defendant’s motion to stay as a motion for an extension of time to
               produce the documents the court has ordered disclosed, that motion is
               GRANTED in part, and DENIED in part;

       2.      On or before August 10, 2009, defendant shall produce to plaintiff all the
               documents (or the designated portions thereof) listed in part IV. (1)(a) of
               the court’s July 3, 2009, order;

       3.      On or before August 17, 2009, the parties shall file a joint status
               report indicating how this case should proceed;

       4.      No further enlargements of these deadlines will be granted and all
               other deadlines established by the July 3, 2009, order remain
               unaffected.

       IT IS SO ORDERED.


                                                      s/ Francis M. Allegra
                                                      Francis M. Allegra
                                                      Judge
